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AO 245B (CASDRev. 02/18) Judgment in a Criminal Case for Revocations ~

 

 

MAR 25 2019
UNITED STATES DISTRICT COURT

CLERK. US. DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA | ggutHEeRN DISTRICT OF CALIFORNIA
BY DEPUTY |

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CR
(For Revocation of Probation or Supervised Release)

Vv {For Offenses Committed On or After November 1, 1987)

Khamchaleun Phonesavanh Case Number: 11CR0266-BTM

ERIC FISH, FEDERAL DEFENDERS, INC

Defendant’s Attorney

 

REGISTRATION NO. 24892298

CL] -

THE DEFENDANT:

admitted guilt to violation of allegation(s) No. 2

L] was found guilty in violation of allegation(s) No. after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

 

Allegation Number Nature of Violation
2 Failure to Test

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

March 20, 2019

Date of Imposition of Sentence

        
 

HON. B Ted Moskowitz
UNITED STATES DISTRICT JUDGE

11CR0266-BTM

 

 
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DEFENDANT: Khamchaleun Phonesavanh Judgment - Page 2 of 4
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

     

FOUR (4) Months
. TED MOSKOWITZ
UNITED STATES DISTRICT JUDGE
Cl Sentence imposed pursuant to Title 8 USC Section 1326(b).
(1 The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

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n

C) at A.M.

 

Ci as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

C! on or before

C} as notified by the United States Marshal.

O) as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

 

, with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

 

By DEPUTY UNITED STATES MARSHAL

11CR0266-BTM

 

 
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DEFENDANT: Khamchaleun Phonesavanh Judgment - Page 3 of 4
CASE NUMBER: 11CR0266-BTM
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

THREE (3) Years

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.

The defendant shall not commit another federal, state or loca! crime.
For offenses committed on or after September 13, 1994:

The defendant shall not illegally possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.

q The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

| The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon,

The defendant shall cooperate in the collection of a DNA sample ftom the defendant, pursuant to section 3 of the DNA Analysis

Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C, § 20901, et

CL] seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)

[] The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

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If this judgment imposes a fine or a restitution obligation, it shail be a condition of supervised release that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3} the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shal! work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
any paraphernalia related to any controlled substances, except as prescribed by a physician;

8} the defendant shali not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall! not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
observed in plain view of the probation officer;

Hl) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
the court; and "

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
with such notification requirement.

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SPECIAL CONDITIONS OF SUPERVISION

Submit person, property, residence, office and vehicle to a search, conducted by a United States
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release; failure to submit to a search may be
grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
searches pursuant to this condition.
Participate in a program of drug abuse treatment including testing and counseling, with at least 1 to 8
tests per month and 1 to 8 counseling sessions per month as directed by the probation officer.

Not reenter the United States illegaily.

Not enter the Republic of Mexico without written permission of the Court or probation officer,

Report all vehicles owned or operated, or in which you have an interest, to the probation officer,

Not possess any narcotic drug or controlled substance without a lawful medical prescription, under
Federal Law.

Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or
dangerous drugs in any form.

Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120
days commencing upon release. This is a non-punitive placement. This condition terminates upon entry
into a residential drug treatment program.

Seek and maintain full time employment and/or schooling or a combination of both.

. Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by

the Probation Officer.

If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and
local and not reenter or attempt to reenter the United States illegally and report to the probation officer
within 72 hours of any reentry to the United States; the other conditions of supervision are suspended
while the defendant is out of the United States after deportation, exclusion, or voluntary departure,

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